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                                   United States District Court                         CEPU TY Ci1:M<

                                      Enstcrn District of Arknnsns

  United States of Amcrlco                         )
                                                   )
                  vs                               )
                                                   )
  Ernie Smith                                      )                      Cnsc No. 4: .1.1CR000209·3l


                       CONSl~NT TO MOlliFY CONDITIONS OF RELEASE

1, Ernie Smith, have discussed with Michelle R. Sims. Pretrial Serviccs/Probntion Ofticer,
modltkotion of my release ns l'ollows:

It is respectfully recommended the defendant's botld condition:; of home detention with electronic
monitoring and malntnln or actively seek employtilent be n~movod. Mr. Smith has remained
compliant throughollt his supervision period. He has not l'eceived u positive drug test since
November 23, 2011, and has attended all drug counseling sessions. In addition, the defendnnt is
currently receiving Social Security Disnbilily. As such, these bond conditions nre no longer
relevant to Mr. Smith's supervision.

 I consent to this modification of my release condilions and agree to abide by this modification.


~~£w~tt                                                                                      IIlli! ! /;:z_
  Sla.nnture of Defendnm                                                                     ~

                                                       nd concur that lhis modlftcnlion is appropriate.




~ The above modit1cntion of conditions ofrelense is ordered, to be effective on IO/J9/:lo12-
[ ]        The nbove modi ficntion of conditions ofrelense is .J1Q! ordered.
       o.J   ,..   Case 4:11-cr-00209-JM Document 682 Filed 10/19/12 Page 2 of 2




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                                                      Date




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